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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    §
     Plaintiff                              §
                                            §
                                            §
       vs.                                  §       CRIMINAL NO. 21-mj-000231
                                            §
                                            §
RAECHEL GENCO                               §
    Defendant                               §



  ORDER REGARDING DEFENDANT'S MOTION FOR DISCOVERY AND EVIDENCE

       CAME ON TO BE CONSIDERED the Motion for Discovery and inspection of Evidence

of Defendant, Raechel Genco. Having considered the motion and argument of counsel, the

Court hereby enters the rulings on the Motion as stated below.

       1.     Any and all written or recorded statements made by or purported to have been

              made by the Defendant Raechel Genco, within the possession, custody or control

              of the government or any agent thereof, including but not limited to any and all

              tape recordings of any conversations to which the Defendant was a party and any

              and all documents, instruments or forms of any kind signed or purported to have

              been signed by the Defendant herein. Fed. R. Crim. P. 16(a)(1)(B).

                      GRANTED: __________                  DENIED: _________

       2.     Any and all oral statements, confessions or admissions purported to have been

              made by the Defendant and any written summary, report or transcription thereof

              made by any government agent or law enforcement officer, or copy thereof,

              within the possession, custody or control of the government or any agent thereof.

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     This request includes, but is not limited to, statements made to witnesses other

     than law enforcement officers or government agents and the precise words

     attributed to the Defendant which caused any government agent to conclude that

     the Defendant was a coconspirator with any other Defendant in this cause. Fed. R.

     Crim. P. 16(a) (1) (A)

            GRANTED: __________                    DENIED: __________

3.   Any and all statements of any co-defendants or co- conspirators, whether written

     or oral, or subsequently reduced to writing or summarized in any law enforcement

     agents' reports or copies thereof, including but not limited to any such statements

     which the government alleges are admissible statements of a co-conspirator or co-

     defendant made during the transactions subject of this cause and in furtherance of

     any alleged conspiracy or agreement. Fed. R. Evid. 801(d)(2)(E), Fed. R. Crim.

     P. 16(a)(1)(A).

            GRANTED: __________                    DENIED: __________

4.   A copy of any and all of the Defendant’s prior criminal records. Fed. R. Crim. P.

     16(a)(1)(D).

            GRANTED: __________                    DENIED: __________

5.   Any and all instruments, documents or other tangible objects which were obtained

     from or are alleged to belong to or were made of or by the Defendant or any co-

     defendants, unindicted co-conspirators or informants. Fed. R. Crim. P.

     16(a)(1)(E).

            GRANTED: __________                    DENIED: __________


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6.   All other instruments, documents, writings, papers, books, tape recordings,

     transcripts or other tangible objects the government plans to offer into evidence in

     this case, or which are material to the preparation of the defense. Fed. R. Crim. P.

     16(a)(1)(E).

     This request includes, but is not limited to the following:

         a. Evidence concerning planning to unlawfully enter the U.S. Capitol,

             including any maps or diagrams of the building or its internal offices;

                     GRANTED: __________           DENIED: _________

         b. Evidence concerning unlawful entry into the U.S. Capitol, including any

             property of the U.S. Capitol;

                     GRANTED: __________             DENIED: _________

         c. Evidence concerning awareness of this Defendant of the official

             proceeding that was to take place at Congress on January 6, 2021, i.e., the

             certification process of the 2020 Presidential Election;

                     GRANTED: __________           DENIED: __________

         d. Evidence concerning efforts of this Defendant to disrupt the official

             proceeding that was to take place at Congress on January 6, 2021, i.e., the

             certification process of the 2020 Presidential Election;

                     GRANTED: __________           DENIED: _________

         e. Evidence relating to Defendant’s involvement a conspiracy to illegally

             enter and/or occupy the U.S. Capitol Building on or about January 6,

             2021;

                     GRANTED: __________           DENIED: _________
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        f. Evidence concerning this Defendant of the breach and unlawful entry of

           the United States Capitol, and any conspiracy or plan to do so, on January

           6, 2021;

                   GRANTED: __________          DENIED: _________

        g. Evidence concerning this Defendant’s actions related to the riot and/or

           civil disorder at the United States Capitol on January 6, 2021;

                   GRANTED: __________         DENIED: _________

        h. Evidence concerning this Defendant’s actions related to the assaults of

           federal officers/agents and efforts to impede such federal officers/agents

           in the performance of their duties the United States Capitol on January 6,

           2021;

                   GRANTED: __________          DENIED: _________

        i. Evidence, related to this Defendant, of any conspiracy, planning, or

           preparation to commit those offenses;

                   GRANTED: __________          DENIED: _________

        j. Evidence concerning this Defendant’s efforts after the fact to conceal

           evidence of those offenses, or to flee prosecution for the same;

                   GRANTED: __________          DENIED: _________

        k. Evidence of communication devices related to this Defendant, including

           closed circuit radios or walkie-talkies, that could have been used by co-

           conspirators to communicate during the unlawful entry into the U.S.

           Capitol;

                   GRANTED: __________          DENIED: _________
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         l. Evidence of the state of mind of this Defendant, e.g., intent, absence of

             mistake, or evidence indicating preparation or planning, or knowledge

             and experience, related to the criminal activity as charged in the

             information;

                    GRANTED: __________            DENIED: _________

         m. Evidence concerning the identity of persons who either (i) collaborated,

         conspired, or assisted (knowingly or unknowingly) the commission of the

         criminal activity under investigation; or (ii) communicated with the unlawful

         actors about matters relating to the criminal activity under investigation,

         including records that help reveal their whereabouts.

                    GRANTED: __________            DENIED: _________

7.   Any and all books, papers, documents instruments, tape recordings, transcripts, or

     other tangible objects upon which the government relied in returning the

     indictment against the Defendant. Fed. R. Crim. P. 16(a)(1)(E).

                    GRANTED: __________            DENIED: __________

8.   Any and all names, addresses and telephone numbers of individual witnesses

     whom the government intends to call as witnesses at trial, either in its case in

     chief or as rebuttal witnesses herein, including any witness who could testify to

     any extrinsic act, conduct or offense of any Defendant. United States v. Opager.

     589 F.2d 799 (5th Cir. 1979); Rule 404(b), F.R.E.

            GRANTED: __________            DENIED: __________

9.   Any and all names and addresses of persons who have knowledge pertaining to

     this case or who have been interviewed by the government or their agents in
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      connection with this case. United States v. Opager, 589 F.2d 799 (5th Cir. 1979).

             GRANTED: __________             DENIED: __________

10.   Any and all FBI, State, and local arrest and conviction records of all persons

      referred to in paragraphs 8 and 9 whom the government plans to call as witnesses

      or who are listed as possible witnesses in this cause. Fed. R. Crim. P. 16(a)(1)(C).

             GRANTED: __________             DENIED: __________

11.   Written statements of all persons in paragraph 8 and 9 whom the government

      does not plan to call as witnesses. . Fed. R. Crim. P. 16(a)(1)(E)(i).

             GRANTED: __________             DENIED: __________

12.   The name and address of each government agent, law enforcement agent or other

      person who participated in the arrest of the Defendant, who was present while the

      Defendant was being questioned or interrogated and/or made any statements or

      participated in the search of the Defendant's residence and/or vehicle. U.S. Const.

      amends. V, VI and XIV, Fed. R. Crim. P. 12(h) and 26.2.

             GRANTED: __________             DENIED: __________

13.   The transcript of testimony of any and all persons who testified before the Grand

      jury in this cause, including but not limited to the precise nature of any statements

      attributed to this Defendant or any co-defendant or co-conspirator, whether

      indicted or not. Fed. R. Crim. P. 6(e)(3)(E)(i), 16(a)(1)(A) and 26.2.

             GRANTED: __________             DENIED: __________




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14.   Any and all documents, instruments, forms or statements of any kind signed or

      purported to have been signed by any co-defendant in this cause. Fed. R. Crim. P.

      16(a)(1)(E).

             GRANTED: __________            DENIED: __________

15.   The name, address and telephone number of any informant or other person who

      gave information leading to the investigation of the Defendant(s) in this cause or

      which led to the identification of witnesses, evidence or the arrest of any

      Defendant in this cause or who was present at, participated in or was a witness to

      any transaction the subject of this indictment. U.S. Const. amends. V, VI and

      XIV; Roviaro v. United States, 353 U.S. 53 (1957).

             GRANTED: __________            DENIED: __________

16.   Any and all handwriting exemplars, tests, fingerprint impressions or other

      physical evidence, or test results, obtained by the government relating to this case

      whether they are of the Defendant, Raechel Genco, or were of another defendant,

      a co-conspirator, witness or of some other person or persons known or unknown;

      and any and all comparisons or written reports of tests, analysis or other

      examinations conducted regarding the foregoing by the government or any of its

      agents or under its direction. Fed. R. Crim. P. 16(a)(1)(F).

             GRANTED: __________            DENIED: __________




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17.   Any and all photographs, film, audio tapes and video tapes and any written

      transcriptions thereof, of the Defendant, or any co-defendants or coconspirators,

      whether indicted or not, that relate to any of the offenses charged in this

      indictment. Fed. R. Crim. P. 16(a)(1)(B); U. S. Const. amends. V, VI and XIV.

             GRANTED: __________DENIED: __________

18.   The name and address of each witness who will be called by the Government,

      including any witness who could testify to extrinsic offenses, whether or not

      resulting in a criminal charge or conviction which the prosecution plans to use in

      rebuttal or to establish motive, system, intent or identify. Fifth and Sixth

      Amendments, United States Constitution.

             GRANTED: __________                     DENIED: __________

19.   A list of all overt or extrinsic acts not alleged in the indictment which the

      Government expects to introduce into evidence. Rule 404(b), F.R.E.

             GRANTED: __________                     DENIED: __________

20.   A description in writing of each extrinsic offense, act or conduct of the Defendant

      or any co-defendant or co-conspirator, including the date and place of such

      offense, act or conduct, which the Government intends to introduce into evidence.

      Rule 404(b), F.R.E.

             GRANTED: __________             DENIED: __________

21.   Any and all materials known to the government or which may become known, or

      which through due diligence may be learned from the investigating officers or the

      witnesses or persons having personal knowledge of this case, which is

      exculpatory in nature or favorable to the accused, or which may lead to
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      exculpatory or favorable material or which might serve to mitigate punishment,

      including any evidence impeaching or contradicting testimony of government

      witnesses or the instructions to government witnesses not to speak with or discuss

      the facts of this cause with defense counsel. U. S. Const. amends. V, VI and XIV.

             GRANTED: __________                    DENIED: __________

22.   The substance of any and all statements and discussions had with any of the co-

      defendants or co-conspirators herein, whether indicted or unindicted, or with any

      such person's counsel indicating a promise or a suggestion of immunity, leniency,

      compensation, assurance not to prosecute, agreement to proceed only on certain

      counts of the indictment, representation as to yet uncharged misconduct, or any

      benefit accruing to such individuals whatsoever in exchange for their cooperation,

      assistance or testimony at the trial herein. U. S. Const. amends. V, VI and XIV.

             GRANTED: __________            DENIED: __________

23.   All search and arrest warrants and supporting affidavits issued for or regarding

      any Defendant in this cause and in regard to any evidence or property seized or

      searched in regard to the investigation that gave rise to the indictment. Fed. R.

      Crim. P. 16(a)(1)(E).

             GRANTED: __________            DENIED: __________

24.   All search and arrest warrants and supporting affidavits issued for or regarding

      any Defendant in this cause and in regard to any evidence or property seized or

      searched in regard to the investigation that gave rise to the indictment. Fed. R.

      Crim. P. 16(a)(1)(E).

             GRANTED: __________                    DENIED: __________
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IT IS SO ORDERED.

SIGNED on ____________________, 20____.



                                     ___________________________________
                                     UNITED STATES DISTRICT JUDGE




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